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             EXHIBIT 21
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    Abortion in Illinois
    About      State Laws        Find Funding & Support            List of Providers


    Is abortion legal in Illinois? Yes.
    Yes. Abortion is legal in Illinois. However, abortion is restricted in Illinois and other states. Right now, abortion is
    legal in Illinois until "viability," which is the stage of pregnancy when a fetus has developed enough that it is able
    to survive outside the uterus with medical help. When it happens depends on how the fetus is developing and can
    be different for every pregnancy. To figure out how far along you are in pregnancy, count from the first day of your
    last period.




    If you're in Illinois and need an abortion
    Before Viability      After Viability


    If your pregnancy has not reached "viability," it is legal for you to get an abortion in Illinois. Viability is
    the stage of pregnancy when a fetus has developed enough that it is able to survive outside the
    uterus with medical help. When it happens depends on how the fetus is developing and can be
    different for every pregnancy. A health care provider can determine whether a pregnancy has reached
    viability. Although Illinois allows abortion until viability, many providers stop offering abortion earlier
    in pregnancy.

    Parental involvement is not required in Illinois. If you're younger than 18, you can consent to an
    abortion and do not have to notify a parent to get an abortion in Illinois.

    You can leave Illinois and get an abortion out of state.

    Use our abortion provider search to find a provider. If you’re having trouble getting an appointment or
    need other help related to getting an abortion, call the NAF (National Abortion Federation) Hotline at
    1-800-772-9100.

                       Find a Verified Abortion Provider




    Find assistance for cost, travel, and more
                                                                                                         NIFLA 01999
https://www.abortionfinder.org/abortion-guides-by-state/abortion-in-illinois                                                    1/3
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    A variety of assistance resources are available depending on where you’re located. These
    organizations may offer one or all of the following: funding for your abortion, support for travel,
    childcare, lodging, and more. Please note that most require you to have scheduled an
    appointment before you can start applying for assistance.

    If you schedule an appointment out of state, you can also try to search for assistance in the state
    where your appointment will be.


                            Find Funding & Support




    Illinois Abortion Laws Overview
    Our abortion law information is checked and updated daily for accuracy.

        no waiting period

        no parental involvement required

        legal until viability


                         Learn More About State Laws




    Other States to Explore




              Abortion in Iowa                                    Abortion in Michigan           Abortion in Minnesota
            Learn about getting an                                 Learn about getting an         Learn about getting an
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                                                              State-by-State Guide
                                  Select your state to get information about what to expect and to locate
                                                abortion support resources and assistance.


                                                                                                            NIFLA 02000
https://www.abortionfinder.org/abortion-guides-by-state/abortion-in-illinois                                                2/3
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     AbortionFinder.org features the most comprehensive directory of trusted (and verified) abortion service providers in the United
     States.
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                                                                                                              NIFLA 02001
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